Case 23-10129-JCM     Doc 64    Filed 12/03/24 Entered 12/03/24 08:38:45   Desc Main
                               Document      Page 1 of 3


                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

   In re:
   Dennis I. Henderson, Jr.               :      Case No. 23-10129-JCM
                Debtor(s)                 :      Chapter 13
                                          :
   Ronda J. Winnecour, Chapter 13         :
   Trustee                                :
               Movant                     :
                                          :
                vs.                       :
                                          :
   Deutsche Bank National Trust           :
   Company, as Indenture Trustee for      :
   New Century Home Equity Loan           :
   Trust 2003-6                           :
                Respondent(s)             :


    WITHDRAWAL OF TRUSTEE’S MOTION TO PRECLUDE NOTICE OF POST-
          PETITION MORTGAGE FEES, EXPENSES AND CHARGES

         The Motion to Preclude Notice of Post-Petition Mortgage Fees, Expenses

   and Charges that was filed in the above-referenced case on October 10, 2024,

   (document #61) is hereby WITHDRAWN.


                                          Respectfully submitted,


   12/3/2024                              /s/ Ronda J. Winnecour
   Date                                   Ronda J. Winnecour (PA I.D. #30399)
                                          Attorney and Chapter 13 Trustee
                                          U.S. Steel Tower – Suite 3250
                                          600 Grant Street
                                          Pittsburgh, PA 15219
                                          (412) 471-5566
                                          cmecf@chapter13trusteewdpa.com
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                               Document      Page 2 of 3


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   Trustee                                 :
               Movant                      :
                                           :
                vs.                        :
                                           :
   Deutsche Bank National Trust            :
   Company, as Indenture Trustee for       :
   New Century Home Equity Loan            :
   Trust 2003-6                            :
                Respondent(s)              :

                              CERTIFICATE OF SERVICE

         I hereby certify that on the date shown below, I served a true and correct

   copy of the foregoing pleading upon the following, by regular United States mail,

   postage prepaid:

   Marta E. Villacorta, Esquire
   Assistant U.S. Trustee
   1000 Liberty Avenue, Suite 1316
   Pittsburgh, PA 15222

   Dennis I. Henderson, Sr.
   532 East 25th Street
   Erie, PA 16503

   Brian C. Thompson, Esquire
   Thompson Law Group PC
   301 Smith Drive, Suite 6
   Cranberry Township, PA 16066

   Deutsche Bank National Trust Company
   c/o Carrington Mortgage Services, LLC
   1600 South Douglass Road
   Anaheim, CA 92806

   Brian C. Nicholas, Esquire
   KML Law Group, P.C.
   701 Market Street, Suite 5000
   Philadelphia, PA 19106
Case 23-10129-JCM   Doc 64    Filed 12/03/24 Entered 12/03/24 08:38:45   Desc Main
                             Document      Page 3 of 3


   12/3/2024                            /s/Renee Ward
   Date                                 Administrative Assistant
                                        Office of the Chapter 13 Trustee
                                        US Steel Tower – Suite 3250
                                        600 Grant Street
                                        Pittsburgh, PA 15219
                                        (412) 471-5566
                                        cmecf@chapter13trusteewdpa.com
